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      IRONRIDGE GLOBAL IV, LTD.,
6     IRONRIDGE GLOBAL PARTNERS, LLC,
      JOHN KIRKLAND, and BRENDAN O’NEIL
7

8
                                    UNITED STATES DISTRICT COURT
9                                  CENTRAL DISTRICT OF CALIFORNIA
10

11   IRONRIDGE GLOBAL IV, LTD., a                    CASE NO. 2:16-CV-05335
     British Virgin Islands business
12   company; IRONRIDGE GLOBAL                       COMPLAINT FOR DAMAGES FOR
13   PARTNERS, LLC, a U.S. Virgin                    MALICIOUS PROSECUTION
     Islands limited liability company;
14   JOHN KIRKLAND, an individual; and               DEMAND FOR JURY TRIAL
15   BRENDAN O’NEIL, an individual,

16                         Plaintiffs,
17
                vs.
18

19   SCRIPSAMERICA, INC., a Delaware
     corporation; NEEDHAM LAW FIRM,
20   A.P.C., a California corporation;
21   CARLOS E. NEEDHAM, and
     individual, and DOES 1-10, inclusive,
22

23                         Defendants.
24

25               Plaintiffs Ironridge Global IV, Ltd., Ironridge Global Partners, LLC, John
26    Kirkland and Brendan O’Neil complain and allege as follows:
27    ///
28    ///
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1                                       JURISDICITON AND VENUE
2                1.          Jurisdiction is proper pursuant to 28 U.S.C. section 1332 because
3     there is complete diversity between the parties and the amount in controversy
4     exceeds $75,000.00.
5                2.         Venue is proper in the Central District of California pursuant to 28
6     U.S.C. section 1391 because a substantial part of the breaches, acts, and omissions
7     alleged in this complaint took place in Los Angeles, California.
8
                                                THE PARTIES
9
                 3.         Plaintiff Ironridge Global IV, Ltd. (“GLOBAL IV”), is a British Virgin
10
      Islands business company, with its principal place of business in Road Town,
11
      Tortola, British Virgin Islands. GLOBAL IV is an institutional investor that makes
12
      investments in public companies.
13
                 4.         Plaintiff Ironridge Global Partners, LLC (“PARTNERS LLC”) is a
14
      United States Virgin Islands limited liability company with its principal place of
15
      business in St. Thomas, United States Virgin Islands. Until January 2015,
16
      PARTNERS LLC was a shareholder of GLOBAL IV.
17
                 5.         Plaintiff John Kirkland (“KIRKLAND”) is an individual who is a
18
      permanent resident of St. Thomas, United States Virgin Islands. KIRKLAND is a
19
      licensed attorney who practiced securities law for more than 20 years, and earns his
20
      living as a professional investment advisor to investment funds. Until July 2014,
21
      KIRKLAND was one of four directors of PARNERS LLC, and until December
22
      2014, he was a minority member of PARTNERS LLC.
23
                 6.         Plaintiff Brendan O’Neil (“O’NEIL,” and together with GLOBAL IV,
24
      PARTNERS LLC and KIRKLAND, shall be collectively referred to as
25
      “PLAINTIFFS” and each a “PLAINTIFF”) is an individual who is a permanent
26
      resident of St. Thomas, United States Virgin Islands. O’NEIL is a CFA
27
      charterholder, was previously a registered investment advisor, and earns his living
28
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1     as a professional investment advisor to investment funds. Until July 2014, O’NEIL
2     was one of four directors of PARNERS LLC, and until December 2014, he was a
3     minority member of PARTNERS LLC.
4                7.         Defendant ScripsAmerica, Inc. (“SCRIPSAMERICA”) is a Delaware
5     corporation with its principal place of business in Clifton, New Jersey.
6                8.         Defendant Needham Law Firm, A.P.C. (“LAW FIRM”) is a California
7     corporation with its principal place of business in Valencia, California.
8                9.         Defendant Carlos E. Needham (“LAWYER” and together with
9     SCRIPSAMERICA and LAW FIRM, shall be collectively referred to as
10    “DEFENDANTS” and each a “DEFENDANT”), is an individual who is a
11    permanent resident of Los Angeles County, California. The LAW FIRM and the
12    LAWYER were counsel of record for SCRIPSAMERICA in the FEDERAL
13    COURT ACTION (defined below) which gave rise to the malicious prosecution
14    allegations herein, as well as in the related STATE COURT ACTION (defined
15    below).
16               10.        Plaintiffs are ignorant of the true names and capacities of defendants
17    sued herein as DOES 1 – 10, inclusive, and, therefore, sues these defendants by
18    such fictitious names. Plaintiffs will amend this complaint to allege their true
19    names and capacities when ascertained. Plaintiffs are informed and believe and
20    thereon allege that none of the fictitiously named defendants is an alien or citizen of
21    the U.S. Virgin Islands, and each of the fictitiously named defendants is responsible
22    in some manner for the occurrences herein alleged.
23                                         NATURE OF THE CASE
24               11.        This is an action for malicious prosecution involving baseless federal
25    securities fraud allegations. DEFENDANTS engaged in a scheme to delay and
26    avoid issuing shares of SCRIPSAMERICA common stock as required by a Los
27    Angeles Superior Court order. DEFENDANTS engaged in this scheme with malice
28    and without probable cause, by filing a baseless federal action, to harass and
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1     intimidate            PLAINTIFFS     and   to   delay   and   avoid   issuing   shares   of
2     SCRIPSAMERICA common stock to GLOBAL IV as required.                            The Court
3     dismissed these baseless federal securities fraud claims with prejudice.
4     DEFENDANTS conduct was not only tortious, it was malicious, fraudulent and
5     oppressive, entitling PLAINTIFFS to both compensatory and punitive damages, as
6     well as other relief.
7                                THE UNDERLYING STATE COURT MATTER
8                12.        On October 11, 2013, GLOBAL IV filed breach of contract collection
9     action, titled Ironridge Global IV, Ltd. v. ScripsAmerica, Inc., Los Angeles
10    Superior Court Case No. BC524230 (“STATE COURT ACTION”), to collect on
11    accounts payable debts in the amount of $686,962 owed by SCRIPSAMERICA to
12    GLOBAL IV, pursuant to receivables purchase agreements. PARTNERS LLC,
13    KIRKLAND and O’NEIL were not parties in the STATE COURT ACTION.
14               13.        On November 8, 2013, in the STATE COURT ACTION, the Court
15    issued an order approving the parties’ Stipulation for Settlement of Claims
16    (“STIPULATION FOR SETTLEMENT”). Pursuant to the STIPULATION FOR
17    SETTLEMENT, SCRIPSAMERICA was to issue 8,690,000 shares of common
18    stock to GLOBAL IV in satisfaction of the outstanding accounts payables owed to
19    GLOBAL IV. Pursuant to the STIPULATION FOR SETTLEMENT,
20    SCRIPSAMERICA was to issue additional shares of common stock to GLOBAL
21    IV should the SCRIPSAMERICA share price drop, pursuant to an agreed upon
22    formula.
23               14.         On February 27, 2014, SCRIPSAMERICA issued an additional
24    1,615,550 shares of its common stock to GLOBAL IV, due to a drop in its share
25    price, pursuant to GLOBAL IV’s request under the terms of the STIPULATION
26    FOR SETTLEMENT.
27               15.         On April 4, 2014, GLOBAL IV made another request for
28    SCRIPSAMERICA to issue additional shares of its common stock to GLOBAL IV,
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1     due to another drop in its share price, pursuant to the terms of the STIPULATION
2     FOR SETTLEMENT. SCRIPSAMERICA failed to comply with this request.
3                16.        On May 6, 2014, in the STATE COURT ACTION, the Court entered
4     an order compelling SCRIPSAMERICA to issue an additional 1,646,008 of its
5     common stock to GLOBAL IV, and prohibiting SCRIPSAMERICA from
6     transferring stock to any third parties until these outstanding shares were transferred
7     to GLOBAL IV (“STATE COURT ORDER”).
8                17.        On May 14, 2014, in an effort to delay the issuance of these additional
9     shares of stock to GLOBAL IV as required by the STATE COURT ORDER,
10    SCRIPSAMERICA appealed this STATE COURT ORDER (“STATE COURT
11    APPEAL”).
12               18.        Thereafter, in the STATE COURT APPEAL, the California Court of
13    Appeal issued its opinion dismissing SCRIPSAMERICA’s appeal of the STATE
14    COURT ORDER, which was published at Ironridge Global IV, Ltd. v.
15    ScripsAmerica, Inc., 238 Cal. App. 4th 259 (2015), review denied, No. S228390
16    (Cal. Sept. 30, 2015) (“APPELLATE COURT OPINION”). In its opinion, the
17    Court of Appeal ruled as follows:
18
                 Defendant [ScripsAmerica, Inc.] appealed, arguing that the trial court
19               lacked authority to restrain it from transferring shares to third parties,
                 and that the court could not provide injunctive relief on an ex parte
20
                 basis. Since entry of the order, defendant has transferred millions of
21               shares of stock to third parties and has not issued any shares to plaintiff
22
                 [Ironridge Global IV, Ltd.]. Based on defendant's repeated violations of
                 the trial court's order, plaintiff has moved to dismiss the appeal under
23               the disentitlement doctrine. We agree that dismissal is the
24
                 appropriate remedy for defendant's [ScripsAmerica, Inc.] flagrant
                 disregard for the order which is the subject of this appeal. (emphasis
25               added)
26               19.        The Court of Appeal further ruled that ScripsAmerica, Inc.’s claims in
27    the appeal were “plainly without merit.” Finally, the Court of Appeal ruled that:
28
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                 Defendant had no cause to disobey the court's order, but did so,
1
                 repeatedly. Defendant could have sought a stay of the order, but failed
2                to do so. Defendant also could have sought a writ of supersedeas in this
                 court. Finding that a balance of the equities weighs in favor of
3
                 dismissal, we grant plaintiff's motion.
4
                                 UNDERLYING FEDERAL COURT MATTER
5
                 20.        Almost immediately after filing the STATE COURT APPEAL to
6
      delay the issuance of stock to GLOBAL IV pursuant to the STATE COURT
7
      ORDER, SCRIPSAMERICA implemented an additional tactic to harass and
8
      intimidate PLAINTIFFS with the intent to prevent or cause delay in the issuance of
9
      the SCRIPSAMERICA stock to GLOBAL IV pursuant to the STATE COUIRT
10
      ORDER and to force GLOBAL IV to cease its enforcement of the STATE COURT
11
      ORDER.
12
                 21.        On May 22, 2014, a week after it filed the STATE COURT APPEAL,
13
      SCRIPSAMERICA filed an action titled, ScripsAmerica, Inc. v. Ironridge Global
14
      LLC, et al., United States District Court for the Central District of California Case
15
      No. CV 14-03962 SJO (“FEDERAL COURT ACTION”).
16
                 22.        In the FEDERAL COURT ACTION, SCRIPSAMERICA alleged
17
      causes of action against GLOBAL IV, PARTNERS LLC, KIRKLAND and
18
      O’NEIL for: (i) securities fraud under Section 10(b) of the Securities Exchange Act
19
      and Rule 10b-5, (ii) breach of contract; (iii) tortious bad faith; and (iv) declaratory
20
      relief.
21
                 23.        The Complaint in the FEDERAL COURT ACTION specifically
22
      alleges, among other things, as follows:
23

24
                 This case arises from a fraudulent scheme by Defendant IRONRlDGE
                 GLOBAL LLC ("IRONRlDGE") and its agents and control persons
25               JOHN KIRKLAND ("KIRKLAND") and BRENDAN O'NEILL
26
                 ("O'NEILL") to acquire stock of Plaintiff through a fraudulent and
                 deceptive scheme, in which Plaintiff agreed to provide a certain value of
27               stock as consideration to IRONRIDGE under a formula based on
28
                 Plaintiff’s stock price. In order to enrich itself at the expense of Plaintiff
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                 and its shareholders, and using a manipulative and deceptive device and
1
                 contrivance, IRONRIDGE willfully and knowingly artificially
2                manipulated the market price of Plaintiffs stock by dumping shares in
                 order to increase its ownership share in Plaintiff, contrary to its
3
                 representations to Plaintiff. By engaging in such conduct, IRONRIDGE
4                and its Defendant directors violated Section 10(b) of the Securities
5
                 Exchange Act of 1934,15 U.S.C. 78j(b), and rule 10b-5 thereunder, 17
                 C.F.R. §240.lOb-5. The Defendants' tortious misconduct further
6                violated applicable provisions of state law.
7                24.        The Complaint in the FEDERAL COURT ACTION was signed by the
8     LAWYER who thereby certified that it was not being presented for any improper
9     purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
10    of litigation, and that the claims and other legal contentions were warranted and that
11    the factual contentions had evidentiary support. In truth and in fact, (a) the
12    Complaint was presented solely for improper purposes, including to harass, cause
13    unnecessary delay and needlessly increase the cost of litigation, (b) the claims and
14    legal contentions were completely unwarranted, and (c) the factual contentions had
15    no evidentiary support. In further trust and fact, the Complaint was filed with the
16    intent to cause delay in the issuance of the SCRIPSAMERICA to GLOBAL IV
17    pursuant to the STATE COURT ORDER and/or to force GLOBAL IV to cease its
18    enforcement of the STATE COURT ORDER.
19               25.        SCRIPSAMERICA’s filing and maintenance of this baseless
20    FEDERAL COURT ACTION, devoid of probable cause, gave rise to this malicious
21    prosecution action.
22               26.        On May 27, 2014, SCRIPSAMERICA issued a press release publicly
23    announcing its filing of the FEDERAL COURT ACTION against PLAINTIFFS
24    and stating that they had been sued in federal court for securities fraud under
25    Section 10(b) of the Securities Exchange Act and Rule 10b-5.
26               27.        On May 27, 2014, SCRIPSAMERICA filed a current report on Form
27    8-K with the U.S. Securities and Exchange Commission regarding its filing of the
28    FEDERAL COURT ACTION against PLAINTIFFS and again stating that
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1     PLAINTIFFS had been sued in federal court for securities fraud under Section
2     10(b) of the Securities Exchange Act and Rule 10b-5.
3                28.        In addition, on information and belief SCRIPSAMERICA sent a copy
4     of its Complaint in the FEDERAL COURT ACTION to the U.S. Securities and
5     Exchange Commission, which resulted in the filing of Administrative Proceeding
6     File No. 3-16649, In the Matter of Ironridge Global Partners, LLC, Ironridge
7     Global IV, Ltd., in which SCRIPSAMERICA’s Chief Executive Officer was listed
8     as a witness. Said administrative proceeding was subsequently stayed by the U.S.
9     District Court.
10               29.        Thereafter, in the FEDERAL COURT ACTION, PLAINTIFFS
11    PARTNERS LLC, KIRKLAND and O’NEIL filed a Motion to Dismiss or Stay
12    ScripsAmerica, Inc.’s Complaint. In a published opinion at ScripsAmerica, Inc. v.
13    Ironridge Global, LLC, 56 F. Supp. 3d 1121 (C.D. Cal. November 3, 2014), the
14    Court granted in part and denied in part the motion to dismiss, and granted the
15    motion to stay, including as follows:
16
                        Rooker–Feldman doctrine barred in part corporation's declaratory
17                       relief claim;
18                      corporation failed to plead with particularity conduct constituting
                         market manipulation, as required to state a securities fraud claim;
19                       and
20                      corporation failed to allege reliance on LLC's allegedly fraudulent
                         statements.
21
                 30.        The Court dismissed SCRIPTSAMERICA’s declaratory relief claim
22
      under the Rooker-Feldman doctrine to the extent it sought a declaration that
23
      SCRIPTSAMERICA was excused from performing generally under a stipulation
24
      entered by the state court. The Court denied defendants’ motion to dismiss on
25
      Younger abstention grounds, but stayed SCRIPTSAMERICA’s breach of contract,
26
      tortious bad faith, and declaratory relief claims under the Colorado River doctrine.
27

28
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1     Finally, the Court granted defendants’ motion to dismiss SCRIPTSAMERICA’s
2     Rule 10b-5 claim with leave to amend.
3                31.        Following this opinion, the only claims remaining in the FEDERAL
4     COURT ACTION were SCRIPSAMERICA’s Rule 10b-5 claims, for which
5     SCRIPSAMERICA was granted leave to amend.
6                32.        On December 3, 2014, SCRIPSAMERICA filed a First Amended
7     Complaint, again alleging claims against PLAINTIFFS for: (i) securities fraud
8     under Section 10(b) of the Securities Exchange Act and Rule 10b-5, (ii) breach of
9     contract; (iii) tortious bad faith; and (iv) declaratory relief.
10               33.        PLAINTIFFS PARTNERS LLC, KIRKLAND AND O’NEIL then
11    filed a Motion to Dismiss the First Amended Complaint.
12               34.        On March 26, 2015, the Court in the FEDERAL COURT ACTION
13    issued an order granting the Motion to Dismiss the First Amended Complaint,
14    giving SCRIPSAMERICA leave to amend the complaint to address the deficiencies
15    identified by the Court in the order.
16               35.        In its Order granting the Motion to Dismiss the First Amended
17    Complaint, the Court held that the First Amended Complaint —just like
18    SCRIPSAMERICA’s original Complaint—failed to properly plead the essential
19    elements of a federal securities fraud claim, including (1) manipulative conduct, (2)
20    a misrepresentation or omission, (3) reliance, and (4) a strong inference of scienter.
21    In particular, the Court rejected as deficient SCRIPSAMERICA’s new and
22    unsupported allegations regarding PLAINTIFFS and David Sims—including the
23    demonstrably false allegations that SCRIPSAMERICA was unaware of Mr. Sims’s
24    involvement, that PLAINTIFFS’ Section 13(d) disclosure statements were
25    somehow fraudulent, and that PLAINTIFFS engaged in marking the close and “bid
26    whacking.” (Order at pps. 20-29) The Court also held that reliance could not be
27    presumed based on the fraud-on-the-market theory, which left SCRIPSAMERICA
28
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 1     with no viable basis for pleading reliance in connection with its securities fraud
 2     claim. (Order at pps. 34-39)
 3                36.        On April 13, 2015, the attorney for PLAINTIFFS PARTNERS LLC,
 4     KIRKLAND AND O’NEIAL sent a letter to DEFENDANTS, stating as follows:
 5
                  The Court’s Order [March 26, 2015 Order] should bring this case to an
 6                end. Scrips cannot in good faith plead facts sufficient to overcome any,
                  let alone all, of the myriad pleading deficiencies identified by the Court.
 7
                  The stipulated judgment alone precludes Scrips from pleading a
 8                misrepresentation or omission, reliance, and scienter. Nor has Scrips
 9
                  ever pled any facts to support its allegations of manipulative trading
                  activity, because no such facts exist. Indeed, Scrips already overreached
 10               by including knowingly false allegations regarding Mr. Sims in the
 11
                  FAC, and any new allegations would likewise lack evidentiary support.

 12               In short, the continued pursuit of this claim will be not in good faith and
 13
                  would not be consistent with your obligations under Rule 11. Scrips
                  entered into a contract that it now regrets. But Scrips’s dissatisfaction
 14               with the stipulated judgment is not the basis for a federal securities
 15
                  claim, as the Court’s two Orders confirm. Nor is Scrips’s theory of
                  market manipulation remotely plausible. Ironridge sells stock in a
 16               manner designed to maximize its return. That generally means selling as
 17               many shares as possible, at the highest possible price, in the manner that
                  least impacts the price, and the overwhelming and incontrovertible
 18               evidence will show that Ironridge always so instructed the independent
 19               brokers who actually sold Scrips’s shares. Given that Ironridge could
                  have sold all of its shares in a single day, the claim that Ironridge
 20               intentionally tried to drive down the price by dribbling out shares over
 21               many months is specious. Moreover, the last year when Ironridge has
                  had no shares to sell, Scrips’s stock price has continued with its typical
 22               volatility from a high of $0.22 to a recent low of $0.07, and this period
 23               includes all of the trading days that determine pricing under the
                  stipulated order.
 24
                  37.        Despite the March 26, 2015 Court Order and PLAINTIFFS’ April 13,
 25
       2015 letter, SCRIPSAMERICA filed a Second Amended Complaint, for a third
 26
       time alleging claims against PLAINTIFFS for: (i) securities fraud under Section
 27

 28
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 1     10(b) of the Securities Exchange Act and Rule 10b-5, (ii) breach of contract; (iii)
 2     tortious bad faith; and (iv) declaratory relief.
 3                38.        PLAINTIFFS then filed a Motion to Dismiss the Second Amended
 4     Complaint. In addition, PLAINTIFFS sent another letter to DEFENDANTS,
 5     stating as follows:
 6
                  Your continued assertion of groundless claims is improper and we
 7                demand that you withdraw the SAC.
 8
                  Having been through three rounds of pleadings, it is abundantly clear
 9                that (a) ScripsAmerica, Inc. (“Scrips”) cannot in good faith state a claim
 10
                  for securities fraud, (b) the factual contentions made in the three
                  iterations of Scrips's complaint are without evidentiary support, and (c)
 11               Scrips's state law claims, tacked on in an obvious attempt to circumvent
 12
                  the stipulated judgment and Judge Treu's enforcement order, are
                  meritless, as recently affirmed by the California Court of Appeal.
 13

 14
                  Scrips's SAC does not cure any of the fatal deficiencies that the Court
                  identified in its orders dismissing Scrips's First Amended Complaint and
 15               its initial Complaint. Nothing in the SAC changes (or can change) the
 16
                  fact that lronridge and Scrips agreed on the terms of the purchase of
                  Scrips's debt, the formula for calculating the stock consideration, and
 17               lronridge's unrestricted right to sell that stock. As the Court has held
 18               twice now, the terms of this transaction were fully disclosed. Scrips's
                  SAC regurgitates many of the misrepresentation and omission claims
 19               that the Court has already rejected, including the alleged misuse of the
 20               adjustment mechanism, the purported involvement of David Sims, the
                  use of multiple brokerage accounts, and the promise that Ironridge
 21               purportedly made not to engage in manipulative conduct. But Scrips did
 22               not plead any new facts to support these allegations, let alone to compel
                  a different result.
 23

 24               Scrips's new allegations concerning manipulative conduct, reliance, and
                  scienter are deficient and baseless. First, Scrips' s only new allegation
 25               of manipulative conduct is so-called bid-whacking, which is neither
 26               supported by case law nor the deluge of data supposedly analyzed by
                  Scrips's mystery expert. Second, Scrips will never be able to avail itself
 27               of the fraud-on-the-market presumption 10 show reliance because
 28               Scrips has already pled that it relied on statements and assurances from
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                  lronridge, not on the efficiency of the market, as the Court has already
 1
                  noted twice. Scrips did not even attempt to plead around that fact, nor
 2                can it. Third, Scrips's “new” scienter allegations are just the rephrasing
                  of already rejected pleadings or conclusory allegations bootstrapped
 3
                  from the deficient manipulative conduct allegations. Neither gives rise
 4                to a compelling inference of scienter. Anyone of these defects is fatal to
 5
                  Scrips's federal securities fraud claim; the fact that they all fail simply
                  confirms Scrips's allegations are without factual or legal merit.
 6                                                 ***
 7
                  Scrips' s state law claims are (and have always been) duplicative of the
                  fraud and breach of contract claims that Scrips asserted in state court
 8                and that Judge Treu rejected. The California Court of Appeal has now
 9
                  decided Scrips's appeal of the state court order, and the appellate court's
                  decision confirms that Scrips's claims "are plainly without merit.”
 10                                                ***
 11
                  In short, the continued pursuit of this case would not be in good faith
                  and would not be consistent with your obligations under Rule 11. Scrips
 12               entered into a contract it now regrets. But Scrips’s dissatisfaction with
 13               the stipulated judgement is not the basis for a federal securities claim or
                  a redo of meritless state law claims, as numerous federal and state court
 14               orders now confirm.
 15               39.         In a published opinion at ScripsAmerica, Inc. v. Ironridge Global,
 16    LLC, 119 F. Supp. 3d 1213 (C.D. Cal. August 11, 2015), the Court granted
 17    PLAINTIFFS’ Motion to Dismiss the Second Amended Complaint, without
 18    granting SCRIPSAMERICA further leave to amend, thus ending the case
 19    (“ORDER DISMISSING FEDERAL ACTION”). The Court held as follows:
 20
                  Scrips has now had three opportunities to plead viable claims. Despite
 21               being informed of its obligation to supply particularized allegations
 22               supporting a Rule 10b–5 claim, Scrips merely appended 200 pages of
                  raw trading data to the complaint, leaving the court (and Ironridge) to
 23               sift through the data to ascertain which trades were purportedly
 24               manipulative and why they were so. The court's review of the data
                  indicates that Ironridge's trades were not manipulative in the manner
 25               Scrips suggests.
 26                                         ***
                  Despite having had three opportunities to plead a viable claim, two of
 27               which followed detailed orders noting numerous deficiencies, Scrips has
 28               still failed to plead any “specific allegations that [Ironridge] did
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                  anything to manipulate the market.” ATSI II, 493 F.3d at 103. This
 1
                  leads the court to conclude that leave to amend would be futile.
 2                                          ***
                  Given the content of the second amended complaint, and the absence of
 3
                  any specific facts cited by Scrips that would cure the numerous
 4                deficiencies noted in this order, the court concludes that granting leave
 5
                  to amend would be futile, and dismisses Scrips' Rule 10b–5 claim with
                  prejudice.
 6                                          ***
 7
                  For the reasons stated, the court grants Ironridge's motion to dismiss
                  Scrips' Rule 10b–5 claim with prejudice. The court declines to exercise
 8                supplemental jurisdiction over Scrips' state law claims. The second
 9
                  amended complaint is therefore dismissed in its entirety.

 10
                  40.        A final judgment was thereafter entered by the Court in the FEDERAL

 11
       COURT ACTION dismissing the entire action in favor of PLAINTIFFS.

 12
                  41.        On January 12, 2016, the Court in the FEDERAL COURT ACTION

 13
       issued an order awarding PLAINTIFFS GLOBAL IV, KIRKLAND and O’NEIL

 14
       $269,260 pursuant to their Motion for Attorney’s Fees as prevailing parties in the

 15
       FEDERAL COURT ACTION.

 16
                  42.        Not surprisingly, in yet another delay tactic, SCRIPSAMERICA

 17
       appealed the January 12, 2016 Order to the Ninth Circuit Court of Appeal.

 18
       However, when faced with enforcement of the attorney fee award,

 19
       SCRIPSAMERICA satisfied the judgment and dismissed said appeal.

 20
                  43.        However, this January 12, 2016 Order and subsequent judgment

 21
       thereon did not fully compensate PLAINTIFF for the harm caused to it by

 22
       SCRIPSAMERICA’s frivolous FEDERAL COURT ACTION. For example,

 23
       PARTERS LLC, KIRKLAND and O’NEIL were not fully compensated for all of

 24
       the attorneys’ fees they incurred in connection with the FEDERAL COURT

 25
       ACTION, and GLOBAL IV was not compensated at all for the attorney fees it

 26
       incurred in connection with SCRIPSAMERICA’s frivolous FEDERAL COURT

 27
       ACTION. GLOBAL IV was a named defendant in the FEDERAL COURT

 28
       ACTION, but was never served and never appeared in the FEDERAL COURT
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 1     ACTION. Nonetheless, GLOBAL IV was forced to incur in excess of $100,000 in
 2     legal fees in connection with the FEDERAL COURT ACTION, given, among other
 3     things, it was a named defendant that could have been served at any point during
 4     the litigation and could have been bound by any adverse rulings against the other
 5     PLAINTIFFS.
 6                                THE STATE COURT ACTION CONTINUES
 7                44.        SCRIPSAMERICA’s shenanigans continued in the STATE COURT
 8     ACTION.
 9                45.        After the ORDER DISMISSING FEDERAL ACTION, dismissing
 10    SCRIPSAMERICA’s claims with prejudice, the Court in the STATE COURT
 11    ACTION issued an Order Enforcing Prior Order for Approval of Stipulation for
 12    Settlement of Claims, stating: “As of September 17, 2015, Defendant
 13    [ScripsAmerica, Inc.] is required to make Additional Issuances of 87,031,631
 14    shares of its common stock to Plaintiff [Ironridge Global IV, Ltd.] under Prior
 15    Order [Stipulation for Settlement of Claims dated November 8, 2013].” The Court
 16    in the STATE COURT ACTION further ordered that SCRIPSAMERICA cannot
 17    issue common stock shares to any other individual or entity until the 87,031,631
 18    shares of its common stock are issued to GLOBAL IV.
 19               46.        DEFENDANTS yet again violated the Court’s orders not to issue
 20    shares to others until it issued shares to GLOBAL IV. Public filings by
 21    SCRIPSAMERICA shareholders show that they were issued shares of stock after
 22    entry of the orders that they not do so. DEFENDANTS also yet again implemented
 23    delay tactics by appealing these court orders to the California Court of Appeal.
 24                                  SCRIPSAMERICA COMMON STOCK
 25               47.        The highest price of SCRIPSAMERICA’s stock price from the date of
 26    the STIPULATION FOR SETTLEMENT to the date of filing of this action was
 27    $0.20 per share. SCRIPSAMERICA’s stock price as of the date of the STATE
 28    COURT ORDER was $0.12 per share. SCRIPSAMERICA’s stock price as of the
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 1     date of the filing of the FEDERAL COURT ACTION was $0.10 per share.
 2     SCRIPSAMERICA’s stock price as of the date of the ORDER DISMISSING
 3     FEDERAL ACTION was $0.03 per share. During the relevant periods in
 4     connection with this matter, SCRIPSAMERICA’s stock price had typical volatility
 5     from a high of $0.22 per share to a low of less than $0.02 per share. GLOBAL IV
 6     is entitled to damages with respect to the depreciation in stock value, incurred as a
 7     result of DEFENDANTS’ filing and maintenance of the FEDERAL COURT
 8     ACTION, in an effort to delay and/or avoid issuing shares of its common stock to
 9     GLOBAL IV pursuant to the orders in the STATE COURT ACTION.
 10                               CFA INVESTIGATION RESULTING FROM
 11                                 BASELESS FEDERAL COURT ACTION
 12               48.        As a direct result of DEFENDANTS’ filing and maintenance of the
 13    baseless FEDERAL COURT ACTION, the CFA Institute commenced an
 14    investigation into O’NEIL, a named defendant in the FEDERAL COURT ACTION
 15    despite not being a party to the STATE COURT ACTION or the STIPULATION
 16    FOR SETTLEMENT. O’NEIL is a Certified Financial Analyst (“CFA”)
 17    charterholder. A special investigator within the Professional Conduct Program of
 18    the CFA Institute commenced an investigation into O’NEIL, solely based on the
 19    meritless allegations set forth in the complaint filed by DEFENDANTS in the
 20    FEDERAL COURT ACTION.
 21               49.        An accusation of Rule 10b-5 violations against an investment
 22    professional is the most serious charge of wrongful conduct that can be levied in the
 23    securities industry. Not surprisingly, this baseless allegation by DEFENDANTS
 24    against O’NEIL triggered an investigation by the CFA Institute.
 25               50.        This baseless allegation also triggered additional, stringent reporting
 26    requirements O’NEIL and KIRKLAND will both have to abide by for life in
 27    connection with, among other things, future applications to the New York Stock
 28    Exchange, Nasdaq Stock Market, state bars, and various professional organizations.
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 1     They will also be required to disclose that this baseless allegation of 10b-5
 2     violations that was levied against them, for life. This will be a stain on their
 3     business reputation for life, even though it is patently false.
 4                51.        O’NEIL and KIRKLAND were damaged, among other ways, based on
 5     the foregoing as follows. O’NEIL and KIRKLAND have suffered, and continue to
 6     suffer, damages, among other damages, such as attorney fees incurred, emotional
 7     distress, mental suffering, stress, distress, worry, and damage to their reputation in
 8     the business community, in connection with the fallout from DEFENDANTS’ false
 9     accusations and malicious prosecution.
 10                                        FIRST CAUSE OF ACTION
 11                                (Malicious Prosecution Against All Defendants)
 12               52.        PLAINTIFFS incorporate herein by reference all the allegations
 13    contained in paragraphs 1 through 51 of this Complaint.
 14               53.        The FEDERAL COURT ACTION was commenced by
 15    DEFENDANTS and was pursued to a legal termination favorable to PLAINTIFFS.
 16    On August 11, 2015, the FEDERAL COURT ACTION against PLAINTIFF was
 17    dismissed in its entirely, including dismissal with prejudice of a portion of the
 18    declaratory relief claims and all of the securities fraud claims pursuant to the
 19    ORDER DISMISSING FEDERAL ACTION.
 20               54.        The FEDERAL COURT ACTION was brought by DEFENDANTS
 21    without probable cause. SCRIPSAMERICA knew its accusations against
 22    PLAINTIFFS were untrue and contrary to the known facts. LAWYER and LAW
 23    FIRM had no good faith basis to believe the allegations were true, and failed to
 24    conduct any reasonable factual investigation or legal research before filing suit
 25    which would have shown the suit to be baseless. DEFENDANTS continued to
 26    prosecute the FEDERAL COURT ACTION and file amended complaints long after
 27    it became clear there was no good faith factual or legal basis for the claims.
 28
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 1                55.        The FEDERAL COURT ACTION was brought by DEFENDANTS
 2     with actual malice. DEFENDANTS were motivated by spite and ill will against
 3     PLAINTIFFS, as demonstrated by their filings and statements to the courts in both
 4     the STATE COURT ACTION and the FEDERAL COURT ACTION, by their
 5     naming PARNERS LLC, as well as KIRKLAND and O’NEIL personally in the
 6     FEDERAL COURT ACTION even though they were not parties to the
 7     STIPULATION FOR SETTLEMENT with SCRIPSAMERICA or the STATE
 8     COURT ACTION. In addition, SCRIPTSAMERICA widely publicized the filing
 9     of the meritless FEDERAL COURT ACTION in an attempt to maximize the
 10    damage to the reputation of PLAINTIFFS caused by the filing of the suit, with the
 11    end goal of delaying or avoiding the issuance of the SCRIPSAMERICA stock to
 12    GLOBAL IV as required.
 13               56.        In the STATE COURT APPEAL, SCRIPSAMERICA asserted
 14    baseless allegations against GLOBAL IV with the California Court of Appeal, to
 15    harass and intimidate PLAINTIFFS and to delay and/or avoid issuing shares of its
 16    common stock to GLOBAL IV pursuant to the STATE COURT ORDER. The
 17    California Court of Appeal deemed SCRIPSAMERICA’s appeal (and allegations
 18    therein) “plainly without merit.” The California Court of Appeal also noted that
 19    SCRIPSAMERICA “repeatedly violated the state court's enforcement order despite
 20    the fact that it was legally bound by it,” showing a “flagrant disregard for the
 21    order.” The California Court of Appeal further noted that SCRIPSAMERICA “had
 22    no cause to disobey the court's order, but did so, repeatedly.”
 23               57.        Then, in an attempt to harass and intimidate PLAINTIFFS and further
 24    delay and avoid the issuance of its common shares to GLOBAL IV pursuant to the
 25    state court’s enforcement order, DEFENDANTS asserted baseless, meritless and
 26    frivolous securities fraud allegations against PLAINTIFFS in the FEDERAL
 27    COURT ACTION, without probable cause, and with actual malice and ill will.
 28    DEFENDANTS filed the baseless FEDERAL COURT ACTION, without probable
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 1     cause, and with actual knowledge of the falsity of the allegations therein.
 2     DEFENDANTS filed the baseless FEDERAL COURT ACTION, without probable
 3     cause, to harass and intimidate PLAINTIFFS and delay and avoid issuing shares of
 4     its common stock to GLOBAL IV pursuant to the STATE COURT ORDER.
 5                58.        After the filing of the FEDERAL COURT ACTION, DEFENDANTS
 6     maliciously continued to prosecute the lawsuit against PLAINTIFFS without
 7     probable cause, including the filing of two amended complaints after the federal
 8     court had already ruled their claims were without merit. The Court in the
 9     FEDERAL COURT ACTION stated that, among other things, “[d]espite having
 10    had three opportunities to plead a viable claim, two of which followed detailed
 11    orders noting numerous deficiencies, Scrips has still failed to plead any specific
 12    allegations that [Ironridge] did anything to manipulate the market.”
 13    DEFENDANTS were never able to specifically allege such conduct as
 14    PLAINTIFFS never engaged in such conduct. Despite this fact, DEFENDANTS
 15    asserted baseless allegations in the FEDERAL COURT ACTION, and continued to
 16    prosecute this FEDERAL COURT ACTION until the Court dismissed it with
 17    prejudice.
 18               59.        Specifically, the Court in the FEDERAL COURT ACTION, in
 19    dismissing the action, held as follows:
 20
                  (1) defendant's use of multiple brokerage firms was insufficient, alone,
 21               to state claim for market manipulation; (2) complaint failed to allege
                  with particularity which of LLC's trades were manipulative and why, as
 22
                  required to state claim for market manipulation; (3) LLC had no duty to
 23               disclose to corporation the number of brokerage accounts it intended to
 24
                  use to trade in stock, and thus omission to disclose did not support claim
                  for securities fraud; (4) there were no allegations that LLC intended, at
 25               the time it was made, to break its promise not to engage in market
 26
                  manipulation; (5) complaint failed to sufficiently allege reliance, as
                  required for claim for securities fraud; (6) complaint failed to
 27               sufficiently allege strong inference of scienter; and (7) once securities
 28
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                  fraud claims were dismissed, court would decline to exercise
 1
                  supplemental jurisdiction over state law claims.
 2
                  60.        As a result of DEFENDANTS’ malicious prosecution of the
 3
       FEDERAL COURT ACTION against PLAINTIFFS, PLAINTIFFS have suffered
 4
       damages in the form of unreimbursed legal expenditures incurred in connection
 5
       with the FEDERAL COURT ACTION in excess of the jurisdictional minimum of
 6
       this Court. PLAINTIFFS have further suffered damages in the form of lost
 7
       opportunity costs and presumed damage to their reputations in the business and
 8
       investment community, as a result of DEFENDANTS’ malicious prosecution. In
 9
       addition, GLOBAL IV has suffered damages in the form of loss in value of the
 10
       SCRIPSAMERICA common stock to which it was and is entitled to, lost profits
 11
       and other economic damages in an amount to be determined at trial. Further, as a
 12
       result of DEFENDANTS’ malicious prosecution of the FEDERAL COURT
 13
       ACTION against PLAINTIFFS, KIRKLAND and O’NEIL suffered damages in the
 14
       form of emotional distress, mental suffering, stress, distress and worry.
 15
                  61.        In addition to DEFENDANTS’ malicious prosecution of the
 16
       FEDERAL COURT ACTION against PLAINTIFFS, DEFENDANTS also
 17
       maliciously prosecuted the STATE COURT APPEAL against GLOBAL IV.
 18
                  62.        The STATE COURT APPEAL was commenced by DEFENDANTS
 19
       and was pursued to a legal termination favorable to GLOBAL IV, as set forth in the
 20
       APPELLATE OPINION.
 21
                  63.        The STATE COURT APPEAL was brought by DEFENDANTS
 22
       without probable cause. SCRIPSAMERICA knew the STATE COURT APPEAL
 23
       had no merit, yet filed and pursued the STATE COURT APPEAL with the intent to
 24
       delay and/or avoid issuing shares of its common stock to GLOBAL IV pursuant to
 25
       the STATE COURT ORDER. LAWYER and LAW FIRM had no good faith basis
 26
       to believe the appeal had merit, and failed to conduct any reasonable factual
 27
       investigation or legal research before filing the STATE COURT APPEAL which
 28
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 1     would have shown the STATE COURT APPEAL to be baseless. DEFENDANTS
 2     maliciously continued to prosecute the STATE COURT APPEAL against
 3     GLOBAL IV without probable cause, as there was no good faith factual or legal
 4     basis for the STATE COURT APPEAL. The APPELLATE OPINION specifically
 5     indicated that the STATE COURT APPEAL, and the allegations therein, were
 6     “plainly without merit.” The APPELLATE OPINION also noted that
 7     SCRIPSAMERICA “repeatedly violated the state court's enforcement order despite
 8     the fact that it was legally bound by it,” showing a “flagrant disregard for the
 9     order.” The APPELLATE OPINION further noted that SCRIPSAMERICA “had
 10    no cause to disobey the court's order, but did so, repeatedly.”
 11               64.        The STATE COURT APPEAL was brought by DEFENDANTS with
 12    actual malice. DEFENDANTS were motivated by spite and ill will against
 13    PLAINTIFFS, as demonstrated by their filings in the STATE COURT ACTION.
 14    As a result of DEFENDANTS’ malicious prosecution of the STATE COURT
 15    APPEAL against GLOBAL IV, GLOBAL IV has suffered damages in the form of
 16    unreimbursed legal expenditures incurred in connection with the STATE COURT
 17    APPEAL. GLOBAL IV has further suffered damages in the form of lost
 18    opportunity costs and presumed damage to their reputations in the business and
 19    investment community, as a result of DEFENDANTS’ malicious prosecution. In
 20    addition, GLOBAL IV has suffered damages in the form of loss in value of the
 21    SCRIPSAMERICA common stock to which it was and is entitled to, lost profits
 22    and other economic damages in an amount to be determined at trial.
 23               65.        Based on the foregoing malicious prosecutions, DEFENDANTS
 24    engaged in conduct with malice, oppression and fraud, justifying an award of
 25    exemplary and punitive damages in an amount to be fixed by the jury.
 26    Accordingly, PLAINTIFFS are entitled to punitive damages, pursuant to California
 27    Civil Code Section 3294, so as to punish DEFENDANTS and deter them from
 28    similar conduct in the future.
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